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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,

              v.                            Criminal No. 21-cr-0035 (EGS)

 JEFFREY SABOL, et al.

                    Defendants.


                                PRETRIAL ORDER

     It is by the Court hereby


     ORDERED that the United States shall make any required expert

disclosures by no later than June 26, 2023; and it is further

     ORDERED that Defendant shall make any required reciprocal

expert disclosure by no later than July 25, 2023; and it is

further

     ORDERED that the United States shall notify Defendant of its

intention to introduce any Rule 404(b) evidence not already

disclosed by no later than August 9, 2023; and it is further

     ORDERED that the United States shall make grand jury and

Jenks Act disclosures as to each witness it expects to call in its

case-in-chief by no later than September 5, 2023. Any Brady

material not already disclosed must also be disclosed by this

date; and it is further

     ORDERED that the parties shall file their pretrial motions


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(other than motions in limine) by no later than June 19, 2023;

oppositions shall be filed by no later than July 3, 2023; and any

replies shall be filed by no later than July 10, 2023 ;and it is

further

     ORDERED that the parties shall file any motions in limine on

or before July 17, 2023; oppositions shall be filed by no later

than July 31, 2023; and any replies by no later than August 7,

2023; and it is further

     ORDERED that the Court will hold a motions hearing and

pretrial conference on September 6, 2023. In light of the public

health emergency, the hearing shall take place via ZOOM, and the

parties shall contact Mr. Mark Coates, the Courtroom Deputy Clerk,

for the dial-in information; and it is further

     ORDERED that jury selection shall commence on September 25,

2023 at 9:00 am in Courtroom 24A and trial shall commence on

September 26, 2023 at 10:00 am in Courtroom 24A; and it is further

     ORDERED that the parties are directed to review the jury voir

dire questions attached hereto as Attachment A and confer in good

faith in an effort to submit a joint list of any additional voir

dire questions that they wish to propose. Additional voir dire

questions shall be filed via electronic case filing (“ECF”), with

an additional copy submitted via email to

sullivan_chambers@dcd.uscourts.gov in Word or Word Perfect format

(not PDF), by no later than August 30, 2023. In the event that
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counsel are unable to agree on a joint list of additional voir

dire questions, counsel shall file individual lists of additional

voir dire questions via ECF, with an additional copy submitted via

email in Word or Word Perfect format (not PDF), by no later than

August 30, 2023. The parties shall also inform the Court if there

are any of the listed standard voir dire questions in Attachment A

that they do not wish the Court to use or that they wish to change

in some way and propose alternatives, as appropriate; and it is

further

     ORDERED that the parties are directed to confer in good faith

in an effort to file a joint, concise, neutral statement of the

case to the Court via ECF, with an additional copy submitted via

email in Word or Word Perfect format (not PDF), by no later than

August 30, 2023. If counsel are unable to agree on a statement of

the case, counsel shall file individual proposed statements of

facts, including a preliminary jury instruction regarding the

defendant’s theory of the case, via ECF, with an additional copy

submitted via email in Word or Word Perfect format (not PDF), by

no later than August 30, 2023; and it is further

     ORDERED that the Court uses standard preliminary instructions

that will be provided to the parties in advance of trial. For final

jury instructions, the Court uses the latest edition (September

2018 - Release 16) of the Criminal Jury Instructions for the

District of Columbia (the “Red Book”). A list of the Court’s

standard final jury instructions is attached to this Order as
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Attachment B. The parties are directed to confer in good faith in

an effort to file a joint list of any additional proposed final

jury instructions to the Court via ECF, with an additional copy

submitted via email in Word or Word Perfect format (not PDF), by

no later than August 30, 2023. If counsel are unable to agree on a

joint list of proposed jury instructions, counsel shall file

individual proposed jury instructions via ECF, with an additional

copy submitted via email in Word or Word Perfect format (not PDF),

by no later than August 30, 2023. The parties may list any

additional standard Red Book instructions by the Red Book

instruction number in their submission to the Court. The parties

are directed, however, to include the full text of all substantive

offense instructions and any additional proposed standard

instructions not found in the Red Book. The parties shall also

inform the Court if there are any of the listed standard

instructions in Attachment B that they do not wish the Court to use

or that they wish to change in some way and propose alternatives,

as appropriate; and it is further

     ORDERED that the parties shall file a list of proposed trial

exhibits by no later than August 30, 2023. Each party’s numbered

list of trial exhibits, other than impeachment exhibits, shall set

forth a description of each exhibit the party may offer in

evidence (other than those created at trial), separately

identifying those which the party expects to offer and those which

the party may offer if the need arises, and should identify
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concisely the evidentiary basis for admissibility. The parties

shall include a brief proffer of the specific evidentiary basis

for any objections to an opposing party’s exhibit. In noting the

objections, if any, the following codes should be used:

     A- Authenticity

     I- Contains inadmissible matter

     R- Relevancy

     H- Hearsay

     UP- Unduly prejudicial- probative value outweighed by undue

     prejudice.

     Other abbreviations may be used provided counsel identifies

such codes in the exhibit listing them. The parties shall submit

their exhibit lists in the format provided in Attachment C to this

Order; and it is further

     ORDERED that the parties shall file a witness list

identifying the names of the witnesses they will call, or may

call, to testify at trial by no later than August 30, 2023. The

parties shall designate each witness as one they "will call" or

"may call." The parties shall also include in their notices the

constitutional issues, if any, implicated by the testimony of any

particular witness. The parties are advised of their obligation to

update the notices if a new potential witness is discovered after

the date of the filing; and it is further

     ORDERED that the Court will utilize the Jury Evidence

Recording System (JERS) to provide the jury with electronic access
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to the evidence in this case during their deliberations. The

parties are directed to contact Anne Baumanis at (202) 354-3220 for

more information and training on the use of JERS; and it is further

     ORDERED that to the extent the parties raise objections in

the joint pretrial statement or to the proposed substantive

offense jury instructions, the parties shall state the basis for

each objection and include citations to the controlling principles

and legal authorities.

     Prior to the commencement of trial in this case, the Court

will issue a further Order containing information regarding COVID-

19 protocols in the courtroom.

      SO ORDERED.

 Signed:   Emmet G. Sullivan
           United States District Judge
           October 6, 2022




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       ATTACHMENT A – LIST OF STANDARD VOIR DIRE QUESTIONS

1.   Have you heard about the alleged offenses that are charged
     in this case?

2.   Do you live or work near the immediate area where the
     offenses are alleged to have occurred or are you familiar
     with that area for some other reason?

3.   As I stated, I am Judge Emmet Sullivan. My courtroom clerk
     is Mr. Mark Coates. The Court Reporter is [Name]. My law
     clerk is [Name]. Do you know me or any member of my staff?
     Do you know any of the attorneys or the defendant in this
     case?

4.   The Assistant U.S. Attorney in this case is [AUSA’s name].
     Do you know or recognize [AUSA’s name]?

5.   The defendant in this case is [defendant’s name]. He is
     being represented by attorney [defense counsel’s name]. Do
     you know or recognize [defendant’s name] or [defense
     counsel’s name]?

6.   [The government will then introduce its witnesses followed
     by the defendant introducing his witnesses. Law enforcement
     witnesses will be identified by their name, rank, and duty
     assignment. Lay witnesses will be identified by their name,
     address, and place of employment. Expert witnesses will be
     identified by their name, title, and place of employment.]
     Do you know any of the witnesses that have just been
     introduced to you?

The next several questions apply to each of you, members of your
immediate family, and close friends.

7.   Is anyone in that group either presently or previously
     employed by any law enforcement agency, or currently have
     pending at such an agency an application for employment?
     Law enforcement agencies include any police department, in
     or outside the District of Columbia, special police
     officers, prosecutors’ offices, Park Police, FBI, Department
     of Justice, Sheriffs’ Departments, Secret Service,
     Department of Corrections, or any other law enforcement
     agency.
8.   Is any member of that group either presently or previously
     employed by a public defender office or by a criminal
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      defense attorney or group of criminal defense attorneys or
      investigators, or currently have pending an application for
      employment with such a person or organization?

9.    Is any member of that group a lawyer or has any member of
      that group studied law in a law school or worked for or with
      a lawyer?

10.   Has any member of that group been the victim of, witness to,
      or accused of, whether convicted or not, a criminal offense?

11.   Have you or a member of your immediate family – either
      personally or in connection with a business – been involved
      in any legal action or dispute with the United States, or
      any officers, employees, or agents of the United States?

12.   (If law enforcement officer testimony expected.) I will be
      instructing the jury at the end of the trial that the
      testimony of a law enforcement officer should be treated the
      same as the testimony of any other witness and that the jury
      should not give either greater or lesser weight to the
      testimony of a witness simply because the witness is a law
      enforcement officer. Do you have such strong feelings about
      law enforcement, either positive or negative, that you would
      have difficulty following that instruction?

13.   This is a case about       . Would the nature of the
      charges themselves make it difficult for you to render a
      fair and impartial judgment in this case?

14.   (If a drug crime.) Are you now or have you in the past been
      a member of any group which advocates either for or against
      the legalization of drugs?

15.   Have you formed special opinions concerning defense
      attorneys, prosecutors, or accused persons that would affect
      you in deciding this case?

16.   Do you feel that the defendant has to testify or present
      evidence before you could find him not guilty?

17.   If selected as a juror, would you have difficulty accepting
      and applying the rule of law that the defendant is presumed
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      innocent unless the government proves guilt beyond a
      reasonable doubt?

18.   There has been an indictment in this case. An indictment
      is not evidence of a crime. It merely initiates a case and
      is a formal way of presenting the charges. The indictment
      here informs [defendant], the Court, and the members of the
      jury of the charge against him. Would the fact that an
      indictment charged [defendant] with a crime lead you to
      believe that he is guilty or make it difficult for you to
      apply the presumption of innocence?

19.   The law requires that jurors weigh the evidence in a case
      and reach a verdict based solely upon the admitted evidence
      and instructions of law, without regard whatsoever for what
      the potential punishment might or might not be. Would you
      have any difficulty at all following this principle?

20.   Do you have such strong moral or religious convictions that
      it would prevent you from passing judgment on another
      person?

21.   Do you know any of the other members of the jury panel from
      before today?

22.   Are you suffering from any sight, hearing, or health
      problems that would make it difficult for you to give your
      full time and attention to this trial, and render a fair and
      impartial verdict?

23.   Have you ever served as a grand juror or juror in the trial
      of a criminal case in federal court, a District of Columbia
      Court, or in a court located in another state?

24.   I expect this case to take approximately [number of days]
      to try. Do you have any pressing commitment that would
      make sitting on this jury an extreme hardship?

25.   Is there any reason you can think of, whether or not it has
      been covered by a previous question, why you could not sit
      fairly, attentively, or impartially as a juror in this case?
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     ATTACHMENT B – LIST OF STANDARD FINAL JURY INSTRUCTIONS

These instructions are taken from the current edition (September
2018 - Release 16) of the Criminal Jury Instructions for the
District of Columbia (the “Red Book”).

General Instructions

2.101        Function of the Court
2.102        Function of the Jury
2.103        Jury’s Recollection Controls
1.105(B)     Final Instruction When Notetaking is Permitted
2.107        Burden of Proof - Presumption of Innocence
2.108        Reasonable Doubt
2.110        Nature of Charges Not to Be Considered
2.104        Evidence in Case [testimony, exhibits, stipulations]
1.104        Question Not Evidence
2.105        Statements of Counsel
2.106        Indictment or Information Not Evidence
2.112        Inadmissible and Stricken Evidence

Evaluation of Testimony and Other Evidence

2.109        Direct and Circumstantial Evidence
2.200        Credibility of Witnesses
2.207        Police Officer’s Testimony (if applicable)
2.208        Right of Defendant Not to Testify (if applicable)
2.209        Defendant as Witness (if applicable)

Definitions, Proof, Offenses, Defenses

3.103        “On or About” - Proof Of
3.101        Proof of State of Mind

Substantive Offense Instructions
[To be submitted by the parties.]

Closing Remarks

2.505        Possible Punishment Not Relevant
2.502        Selection of Foreperson
2.405        Unanimity of Verdict
2.509        Communications Between Court and Jury During
             Jury’s Deliberations
2.501        Exhibits During Deliberations
2.100        Furnishing the Jury with a Copy of the Instructions
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                                             ATTACHMENT C – SAMPLE EXHIBIT LIST
                                                UNITED STATES DISTRICT COURT
                                               FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

          v.

[DEFENDANT]
                                                                                                       Case No. XX-cr-XXXX (EGS)




                                                        [PARTY’S] EXHIBIT LIST

U.S.    Def.    Description/Basis for Admissibility   Doc         Objections         Use (Will     Marked     Admitted           Witness
No.     No.                                           Date                           or May)




Objections: (A)- Authenticity, (I)- Contains inadmissible matter, (R)- Relevancy, (H)- Hearsay, (UP)- Unduly prejudicial- probative value
outweighed by undue prejudice
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U.S.    Def.    Description/Basis for Admissibility   Doc         Objections         Use (Will     Marked     Admitted           Witness
No.     No.                                           Date                           or May)




Objections: (A)- Authenticity, (I)- Contains inadmissible matter, (R)- Relevancy, (H)- Hearsay, (UP)- Unduly prejudicial- probative value
outweighed by undue prejudice
